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                         UNITED STATES DISTRICT COURT
                                 District of Minnesota


National Union Fire Insurance Company of                JUDGMENT IN A CIVIL CASE
Pittsburg, Pa.,
                                 Plaintiff(s),
v.                                               Case Number:       20-cv-839 WMW/JFD


Cargill, Inc.,
                                 Defendant(s).




☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

     1. Defendant Cargill, Inc.’s motion for judgment on the pleadings, (Dkt. 30), is
        GRANTED.

     2. Judgment shall be entered against Plaintiff National Union Fire Insurance
       Company of Pittsburgh, Pa., and in favor of Defendant Cargill, Inc., in the amount
       of $22,114,883 plus 10 percent prejudgment interest per annum, or $6,058 per
       day, beginning on April 28, 2016, and ending on the date that judgment is entered
       in this case, pursuant to Minn. Stat. § 60A.0811, subdiv. 2(a).



     Date: 8/25/2021                                         KATE M. FOGARTY, CLERK
